 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS

 Case number (if known):                                 Chapter             7
                                                                                                               Check if this is an
                                                                                                                  amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                 12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If
you want to begin a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as
complete and accurate as possible. If more space is needed, attach any additional sheets to this form. On the top of any
additional pages, write debtor's name and case number (if known).


 Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition is Filed

1.   Chapter of the                  Check one:
     Bankruptcy Code
                                      Chapter 7
                                      Chapter 11
 Part 2:      Identify the Debtor

2.   Debtor's name                   Running C Construction LLC

3.   Other names you know
     the debtor has used in
     the last 8 years
     Include any assumed,
     names, trade names, or
     doing business as names.


4.   Debtor's federal                 Unknown
     Employer Identification
     Number (EIN)                     8     3   –    4   3   2     8    9     6    5
                                     EIN

5.   Debtor's address                Principal place of business                          Mailing address, if different

                                     143 Roy Davis Rd., Bldg. 2 Unit D
                                     Number     Street                                    Number     Street


                                                                                          P.O. Box

                                     Elgin                         TX       78621-2151
                                     City                          State    ZIP Code      City                             State   ZIP Code


                                                                                          Location of principal assets, if different from
                                                                                          principal place of business
                                     BASTROP
                                     County                                               Number     Street




                                                                                          City                             State   ZIP Code


6.   Debtor's website (URL)



Official Form 205                                Involuntary Petition Against a Non-Individual                                                page 1
Debtor       Running C Construction LLC                                                   Case number (if known)
             Name


7.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other type of debtor. Specify:
8.   Type of debtor's               Check one:
     business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     None of the types of business listed.
                                     Unknown type of business.
9.   To the best of your             No
     knowledge, are any
     bankruptcy cases                Yes. Debtor                                                                 Relationship
     pending by or against
                                                 District                         Date filed                      Case number, if known
     any partner or affiliate of
                                                                                               MM / DD / YYYY
     this debtor?


 Part 3:       Report About the Case
10. Venue                           Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place
                                         of business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this
                                         district.

11. Allegations                     Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).

                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a
                                         bona fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                         agent appointed or authorized to take charge of less than substantially all of the property of the
                                         debtor for the purpose of enforcing a lien against such property, was appointed or took possession.


12. Has there been a                 No
    transfer of any claim
    against the debtor by or         Yes. Attach all documents that evidence the transfer and any statements required under
    to any petitioner?                           Bankruptcy Rule 1003(a).


13. Each petitioner's claim        Name of petitioner                               Nature of petitioner's claim                    Amount of the
                                                                                                                                    claim above the
                                                                                                                                    value of any lien

                                   OSC Energy, LLC                                  Invoice/Account                                  $1,001,369.51
                                                                                    Agreement/Guaranty
                                   H2O GeoSolutions, LLC                            Invoice/Account                                         $8,972.50
                                                                                    Agreement/Guaranty
                                   Saxon Loomis Consulting Group, LLP Invoice/Account                                                     $145,000.00
                                                                      Agreement/Guaranty



Official Form 205                               Involuntary Petition Against a Non-Individual                                                  page 2
06/26/2024
Michael G. Colvard

Martin & Drought, P.C.

112 East Pecan Street, Suite 1616

San Antonio                 TX      78205

           210-227-7591
           mcolvard!@mdtlaw.com
              04629200

              TX




               06/26/2024
Michael G. Colvard

Martin & Drought, P.C.

112 East Pecan Street, Suite 1616

San Antonio                    TX   78205


              210-227-7591

              mcolvard@mdtlaw.com
              04629200

              TX




              06/26/2024
